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UN|TED STATES OF AMER|CA, )
)
P|aintiff, )
)
vs. ) Cr. No. 04-20103-D ./
) O‘i -Qo\so_t>
SCOTT CRAWFORD, )
)
Defendant. )

 

ORDER

 

Upon motion of the United States, the sentencing hearing in the above-referenced

case is continued until B\L(.§gg;\' \q ,2005. Zk \`\30 \’W\

n is 30 0RDERED this 57 *` day of May, 2005.

B§RN|CE B. §ONALD i'

U.S. District Juclge

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o TENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

